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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   EDMOND NEAL,                                   Case No. CV 20-05348 PA (PVCx)
12                        Plaintiff,                JUDGMENT OF DISMISSAL
13
            v.
14
     FEO ENTERPRISES, LLC,
15
                          Defendant.
16
17
            In accordance with the Court’s January 22, 2021 Minute Order dismissing this action
18
     for lack of prosecution, it is HEREBY ORDERED, ADJUDGED, AND DECREED that the
19
     action filed is dismissed without prejudice.
20
21
     DATED: January 22, 2021
22                                                   ___________________________________
                                                                Percy Anderson
23                                                     UNITED STATES DISTRICT JUDGE
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